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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    EASTERN DIVISION

 ROBERT S. STEWART, JR.,                            )
                                                    )
           Petitioner,                              )
                                                    )
 v.                                                 )    Case No. 1:22-cv-00294-MHH-JHE
                                                    )
 UNITED STATES OF AMERICA, et al.,                  )
                                                    )
           Respondents.                             )
                                                    )

                                               ORDER

       This is a habeas corpus case filed pursuant to 28 U.S.C. § 2241. In response to the court’s

show cause order (doc. 2), the respondents have filed an Answer seeking the dismissal of the

petition without an evidentiary hearing. (Doc. 11). The purpose of this order is to notify the

petitioner that the court deems this case to be ripe for summary disposition on the basis of the

defenses in the Answer. See McBride v. Sharpe, 25 F.3d 962 (11th Cir. 1994). For this reason, it

is ORDERED that the petitioner must file a reply addressing the defenses in the Answer within

21 days.

       In preparing a reply, the petitioner must follow these directions:

       1.        The court will consider only the claims in the petition. The reply is not an
                 opportunity to amend the petition to state new claims. Similarly, the petitioner does
                 not need to restate claims in the reply that he already included in the petition.

       2.        The petitioner may choose to offer affidavits or other evidence establishing specific
                 facts demonstrating that there is a genuine dispute of material fact. The court will
                 consider only the evidence received within the next 21 days absent good cause for
                 the delay.

       3.        If the petitioner offers an unsworn declaration in support of his claims, he must sign
                 the declaration and declare under penalty of perjury that the information in the
                 declaration is true and correct. See 28 U.S.C. § 1746.
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       4.      The petitioner must file his entire reply and supporting evidence at one time. If he
               attempts to reply in piecemeal fashion by filing one document at a time, the court
               may strike these filings without further notice.

       5.      Even if he does not offer new evidence, the petitioner must respond to each of the
               Answer’s legal arguments for dismissal.

       After this deadline, the court will review the Answer, any reply, and all supporting

evidentiary materials in deciding whether to recommend the dismissal of the claims in the petition.

If the petitioner does not file a reply with evidence supporting the petition, the court may accept

as true the facts in the respondents’ affidavits and other supporting evidence, find that there are no

genuine disputes of material fact, and enter a summary dismissal of the claims in the petition

without further notice. A summary dismissal is a final adjudication on the merits.

       DONE this 29th day of April, 2022.



                                               _______________________________
                                               JOHN H. ENGLAND, III
                                               UNITED STATES MAGISTRATE JUDGE




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